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FILED

DEC 05 209

SUSAN Y. SOONG
CLERK, U.S. DISTRICT COURT
NORTH DISTRICT OF CALIFORNN

UNITED STATES DISTRICT COURT
‘NORTHERN DISTRICT OF CALIFORNIA

Da Ae Sun

Plaintiff,

CASE NO.

Lalo Foxe dv) Db ld. Lous EMPLOYMENT DISCRIMINATION

COMPLAINT

Defendant(s). )

1. Plaintiff resides at:

Address

City, State & Zip Code

Phone

2. Defendant i is located IL
Address ay Hp apis St H ovy 4 D

City, State & Bo Code v oN Seas CACO , CA Q Lu 0 Ly.

3, This action is brought pursuant to Title VII of the Mi Rights ie of i for employ-

ment discrimination. Jurisdiction is conferred on this Court by 42 U.S.C. Section 2000e-5.
Equitable and other relief is sought under 42 U.S.C. Section 2000e-5(g).

4, The acts complained of in this suit concern:
a. ye to employ me.
b. v_ Termination of my employment.

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c. __ Failure to promote me.

d. __ Other acts as specified below.

5. Defendant's conduct is discriminatory with respect to the following:
/ My race or color.
b. __ My religion.
c. __ My sex.

d. __ My national origin.

e. __ Other as specified below. -> My Ane

The basic facts surrounding my claim of discrimination re: 4y

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aren Zk | Bnsers te! sp sy dL hy Sys
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The alleged discrimination 0 d on or about ) 4 ; 14
(DATE)
8. I filed charges with the Federal Equal Employment Opportunity Commission (or the

California Department of Fair Employment and Housing) regarding defendant's alleged

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discriminatory conduct on or about [7
(DATE)
2, The Equal Employment Opportunity Commission issued a Notice-of-Right-to-Sue letter

(copy attached), which was received by me on or about

(DATE)

Plainti ude ve reby demands a jury for all claims for which a jury is permitted:

11. WHEREFORE, plaintiff prays that the Court grant such relief as may be appropriate,

including injunctive orders, damages, costs, and attorney fees.

DATED: /afefauit ZL

SIGNATURE OF PLAINTIFF

(PLEASE NOTE: NOTARIZATION . bby ru on All .) L S\

IS NOT REQUIRED.) : uae S NAME
(Printed or Typed)

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